Case 2:16-cv-11650-CJB-KWR Document 83 Filed 08/13/19 Page 1 of 30

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

JANICE WILLIAMS : CIVIL ACTION

VERSUS NO. 16-11650
MMO BEHAVIORAL HEALTH SYSTEMS, L.L.C. Section: “J” (4)

LEGAL INSTRUCTIONS READ TO THE JURY

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MEMBERS OF THE JURY:

You have heard the evidence in this case. I will now instruct you on the law that
you must apply. It is your duty to follow the law as I give it to you. On the other hand,
you, the jury, are the judges of the facts. Do not consider any statement that I have
made in the course of trial or make in these instructions as an indication that J have any
opinion about the facts of this case.

You have heard the closing arguments of the attorneys. Statements and
arguments of the attorneys are not evidence and are not instructions on the law. They
are intended only to assist the jury in understanding the evidence and the parties’
contentions. You must answer all questions under a preponderance of the evidence
standard. By this is meant the greater weight and degree of credible evidence before
you. In other words, a preponderance of the evidence just means the amount of

evidence that persuades you that a claim is more likely so than not so. In determining
Case 2:16-cv-11650-CJB-KWR Document 83 Filed 08/13/19 Page 2 of 30

2

whether any fact has been proved by a preponderance of the evidence in the case, you
may, unless otherwise instructed, consider the testimony of all witnesses, regardless of
who may have called them, and all exhibits received in evidence, regardless of who

may have produced them.
Case 2:16-cv-11650-CJB-KWR Document 83 Filed 08/13/19 Page 3 of 30

3

CONSIDERATION OF THE EVIDENCE

You must consider only the evidence in this case. However, you may draw such
reasonable inferences from the testimony and exhibits as you feel are justified in light
-of common experience. You may make deductions and reach conclusions that reason
and common sense lead you to make from the facts that have been established by the
testimony and evidence in this case. The testimony of a single witness may be sufficient
to prove any fact, even if a greater number of witnesses may have testified to the »
contrary, if after considering all the other evidence you believe that single witness.
There are two types of evidence you may consider. One is direct evidence, such
as testimony of an eyewitness. The other is indirect or circumstantial evidence.
Circumstantial evidence is the proof of circumstances that tend to prove or disprove the
existence or nonexistence of certain other facts. As a general rule, the law makes no
distinction between direct and circumstantial evidence, but simply requires that you find

the facts from a preponderance of all the evidence, both direct and circumstantial
Case 2:16-cv-11650-CJB-KWR Document 83 Filed 08/13/19 Page 4-of 30

4

CREDIBILITY OF WITNESSES

In deciding this case, you are expected to use your good sense. Give the evidence
‘and the testimony of each witness a reasonable and fair interpretation in light of your
own knowledge of the natural tendencies of human beings.
Now, I've said that you must consider all of the evidence in the case. This does
not mean, however, that you must accept all of the evidence as true or accurate. As
jurors, you are the sole judges of the credibility or “believability” of each witness and
the weight to be given to his or her testimony. In weighing the testimony of a witness
you should consider his relationship to a party; his interest, if any, in the outcome of the
-case; his manner of testifying; his opportunity to observe or acquire knowledge
concerning the facts about which he testified; his candor, fairness, and intelligence; and
the extent to which he has been supported or contradicted by other credible evidence.
You may, in short, accept or reject the testimony of any witness in whole or in part.
Also, the weight of the evidence is not necessarily determined by the number of
witnesses testifying as to the existence or nonexistence of any fact. You may find that
the testimony of a smaller number of witnesses as to any fact is more credible than the |

testimony of a larger number of witnesses to the contrary.
Case 2:16-cv-11650-CJB-KWR Document 83 Filed 08/13/19 Page 5 of 30

5

In determining the weight to give to the testimony of a witness, you should ask
yourself whether there was evidence tending to prove that the witness testified falsely
concerning some important fact, or whether there was evidence that at some other time
the witness said or did something, or failed to say or do something, that was different
from the testimony the witness gave before you during the trial.

You should keep in mind, of course, that a simple mistake by a witness does not
necessarily mean that the witness was not telling the truth as he or she remembers it,
because people may forget some things or remember other things inaccurately. So, ifa
witness has made a misstatement, you need to consider whether that misstatement was
an intentional falsehood or simply an innocent lapse of memory; and the significance
of that may depend on whether it has to do with an important fact or with only an

unimportant detail.
Case 2:16-cv-11650-CJB-KWR Document 83 Filed 08/13/19 Page 6 of 30

6
ADMISSIBILITY OF EVIDENCE

At various points throughout the trial, I have been called upon to pass judgment
on the admissibility of evidence. Whether evidence is admissible is purely a question
of law for me to decide and with which you have no concern. You are not to draw any
inference as to what weight should be given to the evidence or as to the credibility of
the witness from my ruling on these questions. In admitting evidence to which an
objection is made, I do not determine what weight should be given it; that is a matter
for you to determine as jurors. As to any evidence rejected by me, you, of course, must
not consider it at all. Likewise, as to any question to which an objection was sustained,
you must not conjecture as to what the answer might have been or as to the reason for

the objection or for my ruling.
Case 2:16-cv-11650-CJB-KWR Document 83 Filed 08/13/19 Page 7 of 30

7

BURDEN OF PROOF - PREPONDERANCE OF THE EVIDENCE

In this case, Plaintiff has the burden of proving her case by a preponderance of
the evidence. To establish by a preponderance of the evidence means to prove
something is more likely so than not so. If you find that Plaintiff has failed to prove any
element of her claim by a preponderance of the evidence, then she may not recover on
that claim.

In deciding whether any fact has been proven by a preponderance of the
evidence, you may, unless otherwise instructed, consider the testimony of all witnesses,
regardless of who may have called them, and all exhibits received in evidence,
regardless of who may have produced them. If the proof fails to establish any essential
element of the Plaintiff's claim by a preponderance of the evidence, you should find for
the Defendant as to that claim.

Do not let bias, prejudice, or sympathy play any part in your deliberations.
Case 2:16-cv-11650-CJB-KWR Document 83 Filed 08/13/19 Page 8 of 30

8
CLAIMS IN THIS CASE

Ladies and gentlemen, the Plaintiff in this case, Janice Williams, has asserted
claims against the Defendant, MMO Behavioral Health Systems, LLC, for
discrimination and defamatory statements made following her termination from her
position as a cook.

The Plaintiff first claims that the Defendant is liable under the Americans with
Disabilities Act of 1990 (the “ADA”), because Plaintiff has an actual disability and she
was terminated because of that disability. Plaintiff specifically claims that she had
severe pain in her feet or had arthritis. Plaintiff also claims that the Defendant is liable
under the ADA because Defendant discriminated against Plaintiff because Plaintiff had
a record of a disability or because Defendant regarded Plaintiff as having an
impairment.

The Plaintiff next claims that Defendant is liable under the Age Discrimination
in Employment Act (the “ADEA”) because Plaintiff, who was 40 years or older when
her employment was terminated, would not have been terminated from employment but
for her age.

Finally, the Plaintiff claims that Defendant is liable under the Louisiana law of

defamation because Defendant’s representative or representatives made defamatory
Case 2:16-cv-11650-CJB-KWR Document 83 Filed 08/13/19 Page 9 of 30

9

statements to the Louisiana Workforce Commission and others when Defendant
claimed that Plaintiff falsified her time card and hours that she worked.

I will now instruct you concerning the law applicable to the Plaintiff's claims.
Case 2:16-cv-11650-CJB-KWR Document 83 Filed 08/13/19 Page 10 of 30

10
ADA AND ADEA—REQUIREMENT THAT DEFENDANT WAS |

PLAINTIFF’S EMPLOYER

Plaintiff claims that Defendant was her employer. Defendant denies Plaintiff's
claim and claims that Greenbrier Hospital, LLC, and not Defendant, was Plaintiff's
employer. In order for Plaintiff to recover under the ADA and/or under the ADEA, you
must decide whether Defendant was Plaintiff's employer at the time of her termination.

For Defendant to have been an employer, at the time of Plaintiff's termination,
under the ADA, Defendant must have been engaged in an industry affecting commerce
and must have had 15 or more employees for each working day in each of 20 or more
calendar weeks in 2015 or 2014. Under the ADEA, Defendant must have been engaged
in an industry affecting commerce and must have had 15 or more employees for each
working day in each of 20 or more calendar weeks in 2015 or 2014. Plaintiff and
Defendant agree that in 2015, each of Defendant and Greenbrier Hospital, LLC had 15
or more employees for each working day in each of 20 or more calendar weeks in 2015
or 20 14, Plaintiff and Defendant also agree that at the time of Plaintiff's termination,
Greenbrier Hospital, LLC was in an industry affecting commerce.

Whether Defendant was Plaintiff's employer is determined by considering (a)
economic realities and (b) control. In considering whether, as a matter of economic
realities, Defendant was Plaintiff's employer, you should consider whether Defendant

paid Plaintiff's salary, withheld taxes, provided benefits, set the terms and conditions
Case 2:16-cv-11650-CJB-KWR Document 83 Filed 08/13/19 Page 11 of 30

1]

of employment, or took other actions showing that Defendant acted in fact as Plaintiffs
employer. More importantly, you should consider whether Defendant exercised the
control of an employer over Plaintiff. In so considering, you should consider whether
Defendant had the right to hire and fire Plaintiff, had the right to supervise Plaintiff, had
the right to set Plaintiff’s work schedule, or acted in any other way to exercise control —
over Plaintiff as her employer.
In considering whether Defendant exercised control over Plaintiff as her
employer, you should consider whether Defendant and Greenbrier Hospital, LLC,
together, were a “single employer” of Plaintiff. In determining whether Defendant and
Greenbrier Hospital, LLC were a “single employer,” the central question is whether
Defendant was a final decision-maker in connection with the decision to terminate
Plaintiff's employment. In answering that question, you should consider any
interrelation of operations, centralized control of labor or employment decisions,
common management, and common ownership or financial control between Defendant
and Greenbrier Hospital, LLC. Evidence of centralized labor and employment
decisions may include Defendant’s control of hiring, firing, promoting, paying,
transferring, or supervising employees of Greenbrier Hospital, LLC. There is a strong
presumption that a parent corporation such as Defendant is not the employer of

employees of a subsidiary like Greenbrier Hospital, LLC. As I told you earlier, Plaintiff
Case 2:16-cv-11650-CJB-KWR Document 83 Filed 08/13/19 Page 12 of 30

12

and Defendant agree that, at the time of Plaintiff? s termination, Defendant and

Greenbrier Hospital, LLC had the same owners.
Case 2:16-cv-11650-CJB-KWR Document 83 Filed 08/13/19 Page 13 of 30

13
ADA DISCRIMINATION—ACTUAL DISABILITY

Plaintiff Janice Williams claims that Defendant MMO Behavioral Health

Systems, LLC discriminated against her because she had a disability by terminating her

employment. Defendant denies Plaintiff’s claims and contends that she was terminated

because of misconduct at work.

It is unlawful for an employer to discriminate against an employee because of

the employee’s disability. Unlawful discrimination can include termination of a

qualified individual with a disability.

To succeed in proving discrimination based on actual disability, Plaintiff must

prove each of the following by a preponderance of the evidence:

1.

2.

Defendant was Plaintiff's employer;

Plaintiff had severe pain in her feet or had arthritis;

Such severe foot pain or arthritis substantially affected a major bodily function
or substantially limited her ability to perform a major life activity such as caring
for herself, performing manual tasks, sleeping, walking, standing, breathing,
sitting, reaching, lifting, bending, working, or concentrating;

Defendant knew that Plaintiff had severe foot pain or arthritis;

Defendant terminated Plaintiffs employment;

Plaintiff was a qualified individual who could have performed the essential

functions of a cook when Defendant terminated her; and
Case 2:16-cv-11650-CJB-KWR Document 83 Filed 08/13/19 Page 14 of 30

14

7. Defendant terminated Plaintiff's employment because of her severe foot pain or
her arthritis. Plaintiff does not have to prove that her severe foot pain or her
arthritis was the only reason Defendant terminated Plaintiff's employment.

If Plaintiff has failed to prove any of these elements, then your verdict must be
for Defendant on Plaintiff's ADA claim based on actual disability.

A “disability” is a physical impairment that substantially limits one or more
major bodily functions or one or more major life activities. In determining whether
Plaintiff's severe foot pain or her arthritis substantially limited her major bodily
function or functions or her major life activity or activities, you should compare her
ability to perform the function or activity with that of the average person. In doing so,
you should also consider: (1) the nature and severity of the impairment; (2) how long —
the impairment will last or is expected to last; and (3) the permanent or long-term
- impact, or expected impact, of the impairment.

In determining whether an impairment substantially limits a major bodily
function or a major life activity, you must consider the impairment without regard to
the effects of such measures as medication, therapies, or surgery. In doing so, you may
consider evidence of the expected course of a particular disorder without medication,

therapies, or surgery.
Case 2:16-cv-11650-CJB-KWR Document 83 Filed 08/13/19 Page 15 of 30

15

ADA DISCRIMINATION—RECORD OF IMPAIRMENT OR REGARDED AS

HAVING AN IMPAIRMENT

Plaintiff Janice Williams claims that Defendant MMO Behavioral Health
Systems, LLC discriminated against her because she had a record of a disability or
because Defendant regarded her as having an impairment. Defendant denies Plaintiff's
claims and contends that she was terminated because of workplace misconduct.

Plaintiff claims that she could have performed the essential functions of a cook
. when Defendant terminated Plaintiff's employment.

It is unlawful to terminate the employment of a qualified individual who has a
record of a disability because the qualified individual has a record of a disability. It is
also unlawful to terminate the employment of a qualified individual who is regarded as
having an impairment because the qualified individual is regarded as having an
impairment.

To succeed in proving discrimination based on a record of disability or being
regarded as having an impairment, Plaintiff must prove the following by a
preponderance of the evidence:

1. Defendant was Plaintiff's employer;
2. Plaintiff could have performed the essential functions of a cook when Defendant

terminated her employment;
Case 2:16-cv-11650-CJB-KWR Document 83 Filed 08/13/19 Page 16 of 30

16

3. Plaintiff had a record of a physical impairment that substantially limited one or
more major bodily functions or major life activities, or Plaintiff was regarded as
having a physical impairment;

4, Defendant knew that Plaintiff had a record of a disability, or Defendant regarded
Plaintiff as having an impairment;

5. Defendant terminated Plaintiff's employment; and

6. Defendant terminated Plaintiff's employment because she had a record of having
severe foot pain or having arthritis, or because she was regarded as having severe
foot pain or having arthritis.

If Plaintiff has failed to prove any of these elements, then your verdict must be
for Defendant on Plaintiff's ADA claim based on record of disability or being regarded
as having an impairment.

An individual has a record of having a disability if she has a history of or has
been classified as having an impairment that substantially limits one or more major
bodily functions or one or more major life activities.

An individual is regarded as having an impairment if the individual establishes
that she has been subjected to discrimination because of an actual or perceived
impairment, whether or not it limits or is perceived to limit a major bodily function or

a major life activity.
Case 2:16-cv-11650-CJB-KWR Document 83 Filed 08/13/19 Page 17 of 30

17

ADA DISCRIMINATION—DAMAGES

If you found that Defendant MMO Behavioral Health Systems, LLC violated the
ADA, then you must determine whether it has caused Plaintiff Janice Williams damages
and, if so, you must determine the amount of those damages. You should not conclude
from the fact that I am instructing you on damages that J have any opinion as to whether
Plaintiff has proved liability.

Plaintiff must prove her damages by a preponderance of the evidence. Your
award must be based on evidence and not on speculation or guesswork. On the other
hand, Plaintiff need not prove the amount of her losses with mathematical precision,
but only with as much definitiveness and accuracy as the circumstances permit.

You should consider the following elements of actual damages, and no others:
(1) the amount of back pay and benefits Plaintiff would have earned in her employment
with Defendant if she had not been terminated from employment, from the date of her
termination on July 29, 2015 to the date of your verdict, minus the amount of earnings
and benefits that Plaintiff received from any employment during that time; and (2) the
amount of other damages sustained by Plaintiff, including inconvenience, humiliation,
embarrassment, mental anguish, emotional distress, and loss of enjoyment of life.

Back pay includes the amounts that the evidence shows Plaintiff would have
earned had she remained an employee of Defendant. These amounts include wages or

salary and such benefits as life and health insurance, stock options, and contributions to
Case 2:16-cv-11650-CJB-KWR Document 83 Filed 08/13/19 Page 18 of 30

18

retirement. You must subtract the amounts of earnings and benefits Defendant proves
bya preponderance of the evidence that Plaintiff received during the period in question.

There is no exact standard for determining actual damages. You are to determine
an amount that will fairly compensate Plaintiff for the harm she has sustained. Do not
include as actual damages interest on wages or benefits.

In addition to actual damages, you may consider whether to award punitive
damages. Punitive damages are damages designed to punish a defendant and to deter
similar conduct in the future.

You may award punitive damages if Plaintiff proves by a preponderance of the
evidence that: (1) the individual or individuals who engaged in the discriminatory act
or practice was/were acting in a managerial capacity; (2) the individual(s) engaged in
the discriminatory act or practice while acting in the scope of their employment; and
(3) they acted with malice or reckless indifference to Plaintiff's federally protected right
to be free from discrimination.

If Plaintiff has proved these facts, then you may award punitive damages, unless
Defendant proves by a preponderance of the evidence that the conduct was contrary to
its good-faith efforts to prevent discrimination in the workplace.

In determining whether the individual(s) were supervisors or managers for

Defendant, you should consider the type of authority the individual(s) had over Plaintiff
Case 2:16-cv-11650-CJB-KWR Document 83 Filed 08/13/19 Page 19 of 30

19

and the type of authority for employment decisions Defendant authorized the
individual(s) to make.

An action is in “reckless indifference” to Plaintif? s federally protected rights if
it was taken in the face of a perceived risk that the conduct would violate federal law.
Plaintiff is not required to show egregious or outrageous discrimination to recover
punitive damages. Proof that Defendant engaged in intentional discrimination,
however, is not enough in itself to justify an award of punitive damages.

In determining whether Defendant made good-faith efforts to prevent
discrimination in the workplace, you may consider whether it adopted anti-
discrimination policies, whether it educated its employees on the federal
antidiscrimination laws, how it responded to Plaintiffs complaint of discrimination,
and how it responded to other complaints of discrimination.

If you find that Defendant acted with malice or reckless indifference to Plaintiffs
rights and did not make a good-faith effort to comply with the law, then in addition to
any other damages you find Plaintiff is entitled to receive, you may, but are not required
to, award Plaintiff an additional amount as punitive damages for the purposes of
punishing the Defendant for engaging in such wrongful conduct and deterring
Defendant and others from engaging in such conduct in the future. You should presume
that Plaintiff has been made whole for her injuries by any actual damages you have

awarded.
Case 2:16-cv-11650-CJB-KWR Document 83 Filed 08/13/19 Page 20 of 30

20

If you decide to award punitive damages, you should consider the following in
deciding the amount:

1. How reprehensible Defendant’s conduct was. You may consider whether the
harm Plaintiff suffered was physical or economic or both; whether there was
violence, intentional malice, or reckless disregard for human health or safety;
whether Defendant’s conduct that harmed Plaintiff also posed a risk of harm to
others; and whether there was any repetition of the wrongful conduct or there
was past conduct of the same sort that harmed Plaintiff.

2. How much harm Defendant’s wrongful conduct caused Plaintiff and could cause
her in the future.

3. What amount of punitive damages, in addition to the other damages already
awarded, is needed, considering Defendant’s financial condition, to punish
Defendant for its conduct toward Plaintiff and to deter Defendant and others from
similar wrongful conduct in the future.

4. The amount of fines and civil penalties applicable to similar conduct.

The amount of any punitive damages award should bear a reasonable relationship

to the harm caused Plaintiff.
Case 2:16-cv-11650-CJB-KWR Document 83 Filed 08/13/19 Page 21 of 30

21

ADEA DISCRIVMINATION—DISPARATE TREATMENT

Plaintiff Janice Williams claims that she would not have been terminated from
employment but for her age.
Defendant MMO Behavioral Health Systems, LLC denies Plaintiff's claims and
contends that she was terminated because of workplace misconduct.
It is unlawful for an employer to discriminate against an employee because of
the employee’s age.
To prove unlawful discrimination under the ADEA, Plaintiff must prove by a
preponderance of the evidence that:
1. Defendant was Plaintiff's employer;
2. Plaintiff's employment was terminated;
3. Plaintiff was 40 years or older when her employment was terminated; and
4, Defendant would not have terminated Plaintiff’s employment but for her age.
Plaintiff must prove that, in the absence of—but for—her age, Defendant would
not have decided to terminate her employment. Such proof can be made by evidence
that Plaintiff was replaced by someone younger, or by any other competent evidence
showing that Plaintiff was discharged because of her age.
If you find that Defendant’s stated reason for terminating Plaintiff's employment

is not the real reason but is a pretext for age discrimination, you may, but are not
Case 2:16-cv-11650-CJB-KWR Document 83 Filed 08/13/19 Page 22 of 30

22

required to, find that Defendant would not have decided to terminate Plaintiff's

employment but for her age.
As I] told you earlier, Plaintiff and Defendant agree that at the tume of Plaintiff's

- termination, she was over the age of 40.
Case 2:16-cv-11650-CJB-KWR Document 83 Filed 08/13/19 Page 23 of 30

23

ADEA DISCRIMINATION—DAMAGES

If you found that Defendant MMO Behavioral Health Systems, LLC violated the
ADEA, then you must determine whether it has caused Plaintiff Janice Williams
damages. If so, you must determine the amount. You should not conclude from the fact
that Iam instructing you on damages that I have any opinion as to whether Plaintiff has
proved liability.

Plaintiff must prove her damages by a preponderance of the evidence. Your
award must be based on evidence and not on speculation or guesswork. On the other
hand, Plaintiff need not prove the amount of her losses with mathematical precision,
but only with as much definitiveness and accuracy as the circumstances permit.

You should consider the following elements of damages, and no others: the
amounts the evidence shows Plaintiff would have earned had she remained an employee
of Defendant to the date of your verdict, including benefits such as life and health
insurance, stock options, or contributions to retirement, minus the amounts of earnings
and benefits, if any, that Defendant proves by a preponderance of the evidence Plaintiff
received in the interim.

Plaintiff asserts that Defendant’s alleged age discrimination was willful.
Defendant denies that claim. If you find that Defendant would not have terminated
Plaintiff's employment but for her age,. then you must also determine whether

Defendant’s action was willful. To establish willfulness, Plaintiff must also prove that,
Case 2:16-cv-11650-CJB-KWR Document 83 Filed 08/13/19 Page 24 of 30

24
- when Defendant terminated Plaintiff's employment, Defendant either (a) knew that its

conduct violated the ADEA, or (b) acted with reckless disregard for whether its conduct

complied with the ADEA.
Case 2:16-cv-11650-CJB-KWR Document 83 Filed 08/13/19 Page 25 of 30

25

DEFAMATION

Plaintiff Janice Williams claims that Defendant’s representative(s) made
defamatory statements to the Louisiana Workforce Commission and others when
Defendant claimed that Plaintiff falsified her time card and hours that she worked.
Defendant MMO Behavioral Health Systems, LLC denies Plaintiff’s claims.

It is unlawfal to make false statements about a person that violates the person’s
interest in her reputation and good name.

To maintain an action for defamation, Plaintiff must prove by a preponderance of

the evidence that:

1. Defendant said or wrote defamatory words about Plaintiff;

2. The words were communicated to someone other than Plaintiff;

3. The words were false;

4, The Defendant was at fault, meaning Defendant said or wrote the words when it
knew or should have known that the words were false; and

5. Plaintiff was actually harmed by the defamation.

Something said or written is defamatory if it tends to harm the reputation of
someone in the community or tends to hold him up to contempt, hatred, ridicule or
disgrace.

To prove defamatory words, Plaintiff must show that the words were either (a)

defamatory per se or (b) susceptible of a defamatory meaning. Words that expressly or
Case 2:16-cv-11650-CJB-KWR Document 83 Filed 08/13/19 Page 26 of 30

26

implicitly accuse a person of criminal conduct, or that by the very nature of the words

tend to injure a person’s personal or professional reputation, even without considering
extrinsic facts or surrounding circumstances, are defamatory per se. To prove that
words are susceptible of a defamatory meaning, Plaintiff must show that a listener could

have reasonably understood that the communication of the words, taken in context, was

intended by the Defendant in a defamatory sense.

If Plaintiff does not prove that the words were defamatory per se, but proves that
the words were susceptible of a defamatory meaning, Plaintiff must prove that the
words were false, that Defendant was at fault, and that Plaintiff suffered injury as a
result. If, however, Plaintiff proves that the words were defamatory per se, you should
presume that the words were false and that Defendant was at fault. Additionally, if
Plaintiff proves that the words were defamatory per s¢, you may presume that Plaintiff
suffered injury or harm as a result. Even if falsity of the words, Defendant’s fault, or
Plaintiff's injury or harm is presumed, Defendant may defeat that presumption by
evidence proving that, in fact, the words were not false, Defendant was not at fault, or
Plaintiff did not suffer injury or harm as a result of the words.

For purposes of defamation, fault is a lack of reasonable belief in the truth of the
defamatory statement. To prove fault, Plaintiff need not prove that Defendant made the

defamatory statement out of spite or improper motive.
Case 2:16-cv-11650-CJB-KWR Document 83 Filed 08/13/19 Page 27 of 30

27

To prove that the defamatory statement caused her harm or injury, Plaintiff must
show that the statement was a substantial factor in causing harm or injury to Plaintiff.
The harm or injury may consist of monetary or special damages such as loss of income.
The harm or injury may include nonmonetary or general damages such as injury to
reputation, personal humiliation, embarrassment, inconvenience, loss of enjoyment of
life, mental anguish, or emotional distress, even when no special damage such as loss
of income is claimed.

If Plaintiff proves each of the elements of her defamation claim, you should not
_award damages if Defendant proves by a preponderance of the evidence that the
defamatory statement was true, or that the statement was privileged.

If the defamatory statement was made to a state agency such as the Louisiana
Workforce Commission, the statement is subject to a qualified privilege. If the
statement is subject to such a qualified privilege, for Plaintiff to prove Defendant’s
liability, Plaintiff must prove by a preponderance of the evidence that Defendant abused
the privilege. Abuse of privilege is shown if Defendant made the statement with
knowledge that it was false or with reckless disregard for the truth. To establish reckless
disregard for the truth, Plaintiff must prove that the statement was deliberately falsified,
that the statement was published despite Defendant’s awareness of probable falsity, or

that Defendant in fact entertained serious doubts as to the truth of the statement.
Case 2:16-cv-11650-CJB-KWR Document 83 Filed 08/13/19 Page 28 of 30

28

USE OF NOTES TAKEN BY JURORS
In closing, I want to give you a few more general instructions, ladies and
gentlemen. Any notes that you have taken during this trial are only aids to your
memory. If your memory differs from your notes, you should rely on your memory and
not on the notes. The notes are not evidence. If you have not taken notes, you should
rely on your independent recollection of the evidence and should not be unduly
influenced by the notes of other jurors. Notes are not entitled to any greater weight than

the recollection or impression of each juror about the testimony.
Case 2:16-cv-11650-CJB-KWR Document 83 Filed 08/13/19 Page 29 of 30

29

DUTY TO DELIBERATE

It is your sworn duty as jurors to discuss the case with one another in an effort to
reach agreement if you can do so. Each of you must decide the case for yourself, but
only after a full and impartial consideration of the evidence with the other members of
the jury. While you are discussing the case, do not hesitate to re-examine your own
opinion and change your mind if you become convinced that you are wrong. However,
do not give up your honest beliefs solely because the others think differently, or merely
to finish the case. Remember that in a very real way you are the judges—judges of the
facts. Your only interest is to seek the truth from the evidence in the case.

When you retire to the jury room to deliberate, you may take with you this charge
and the exhibits that the Court has admitted into evidence. Upon returning to the jury
room you should first select one of your number to act as your foreperson who will
preside over your deliberations and will be your spokesperson here in court. A verdict
form has been prepared for your convenience.

[Explain verdict form]

You will take the verdict form to the jury room and when you have
reached unanimous agreement as to your verdict, you will have your foreperson fill it
in, date and sign it, and then return to the courtroom.

If you recess during your deliberations, follow all of the instructions that I have

given you concerning your conduct during the trial. After you have reached your
Case 2:16-cv-11650-CJB-KWR Document 83 Filed 08/13/19 Page 30 of 30

30

unanimous verdict, your Foreperson must fill in your answers to the written questions
and sign and date the verdict form. Unless I direct you otherwise, do not reveal your
answers until such time as you are discharged. You must never disclose to anyone, not
even to me, your numerical division on any question.

If you want to communicate with me at any time, please give a written message
to the bailiff, who will bring it to me. I will then respond as promptly as possible either
in writing or by meeting with you in the courtroom. [ will always first show the
attorneys your question and my response before I answer your question. I caution you,
however, with regard to any message or question you might send, that you should never
state or specify your numerical division at the time.

After you have reached a verdict, you are not required to talk with anyone about

the case. You may now retire to the jury room to conduct your deliberations.
